                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

 LINDA FAIRSTEIN,                                  )
                                                   )
                Plaintiff,                         )
                                                   )    Case No. 20-cv-8042 (PKC)
         v.                                        )
                                                   )
 NETFLIX, INC., AVA DUVERNAY, and                  )
 ATTICA LOCKE,                                     )
                                                   )
                Defendants.                        )
                                                   )

                 NOTICE OF PLAINTIFF’S MOTION FOR SANCTIONS
                  AGAINST DEFENDANT AVA DUVERNAY DUE TO
                           SPOLIATION OF EVIDENCE

         PLEASE TAKE NOTICE that, upon the accompanying Declaration of Kara L. Gorycki,

dated January 5, 2023, and the exhibits appended thereto, and the Memorandum of Law, Plaintiff

Linda Fairstein, by and through her undersigned counsel, will move this Court before the

Honorable P. Kevin Castel, United States District Judge for the Southern District of New York, at

the United States Courthouse located at 500 Pearl Street, Courtroom 11D, for an order, pursuant

to Federal Rules of Civil Procedure 33(b)(3), 37(b)(2) and the Court’s discretion, (i) drawing an

adverse inference against Ms. DuVernay that the books Ms. DuVernay destroyed contained

markings or notations which evidenced actual malice; and (ii) finding that Ms. DuVernay’s

selective destruction of her research materials constitutes evidence of actual malice, along with

such other and further relief as the Court deems just and proper.

Dated:    New York, New York
          January 5, 2023
                                                       Respectfully submitted,
                                                       By: /s/ Kara L. Gorycki
                                                              Kara L. Gorycki (KG 3519)
                                                       Andrew T. Miltenberg (AM 7006)
                                                       NESENOFF & MILTENBERG, LLP
363 Seventh Avenue, 5th Floor
New York, New York 10001
Phone: (212) 736-4500
kgorycki@nmllplaw.com
amiltenberg@nmllplaw.com

Attorneys for Plaintiff Linda Fairstein
                                CERTIFICATE OF SERVICE

       I hereby certify that on January 6, 2023, a true and correct copy of the foregoing was served

by CM/ECF on all counsel of record.

                                             /s/ Kara L. Gorycki
